                   Case 01-01139-AMC                         Doc 775-2              Filed 08/02/01                Page 1 of 10




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                       )      Chapter 11
                                                                             )
W. R. GRACE & CO., et al.,1                                                  )      Case No. 01-01139 (JJF)
                                                                             )      (Jointly Administered)
                                                                             )
                                    Debtors.                                 )


                SUMMARY OF THE FIRST QUARTERLY INTERIM VERIFIED
              APPLICATION OF KIRKLAND & ELLIS FOR COMPENSATION FOR
             SERVICES AND REIMBURSEMENT OF EXPENSES AS BANKRUPTCY
            COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE INTERIM PERIOD
                      FROM APRIL 2, 2001 THROUGH JUNE 30, 2001


  Name of Applicant:                                                                Kirkland & Ellis
  Authorized to Provide Professional Services to:                                   W. R. Grace & Co., et al., Debtors and
                                                                                    Debtors-in-Possession

  Date of Retention:                                                                Retention Order entered May 3, 2001,
                                                                                    effective as of April 2, 2001.

  Period for which compensation and reimbursement
  is sought:                                                                        April 2, 2001 through June 30, 2001

  Amount of Compensation sought as actual,
  reasonable, and necessary:                                                        $1,909,193.30


This is a: __ monthly x quarterly application.




 1
   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit & Tool
Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc.,
Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a
Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company,
Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation,
Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a
Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-
Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation
Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA
Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing
Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern
Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal
Company, H-G Coal Company.
                  Case 01-01139-AMC                         Doc 775-2             Filed 08/02/01               Page 2 of 10




      Date Filed            Period Covered           Requested Fees               Requested              Approved Fees                Approved
                                                                                  Expenses                                            Expenses

    May 29, 2001              4/2 - 4/30/01                $626,079.00               $32,439.84               pending                 pending

    June 29, 2001             5/1 - 5/31/01                $567,151.00               $77,487.86               pending                 pending

    July 31, 2001             6/1 - 6/30/01                $560,569.50               $45,466.13               pending                 pending


           K&E has filed certificates of no objection with the Court with respect to the Applications for April

and May 2001 because no objections were filed with the Court within the objection period.

           The K&E attorneys who rendered professional services in these cases during the Fee Period are:2

          Name of                 Position           Number                                        Hourly           Total             Total
        Professional              with the           of years            Department                billing          billed           compen-
          Person                  applicant           as an                                         rate            hours             sation
                                                     attorney                                                                        April 2 -
                                                                                                                                     June 30

    Theodore                       Partner           29 Years            Bankruptcy                $575.00             22.50          $12,937.50
    Freedman

    Janet Baer                     Partner           19 Years            Bankruptcy                $495.00           436.00          $215,820.00

    Bennett Spiegel                Partner          17 Years             Bankruptcy                $445.00             25.80          $11,481.00

    James Sprayregen               Partner           16 Years            Bankruptcy                $625.00             61.90          $38,687.50

    Lena Mandel                  Associate           11 Years            Bankruptcy                $395.00             59.90          $23,660.50

    James Kapp III               Associate            7 Years            Bankruptcy                $395.00           523.70          $206,861.50

    Roger Higgins                Associate            5 Years            Bankruptcy                $235.00           426.90          $100,321.50

    Samuel Schwartz              Associate            4 Years            Bankruptcy                $320.00           559.90          $179,168.00

    Deanna D. Boll               Associate            3 Years            Bankruptcy                $320.00             63.90          $20,448.00

    Kristin Rooney               Associate            3 Years            Bankruptcy                $280.00              0.40              $112.00

    Brian Lutz                    Summer            2 Months             Bankruptcy                $145.00             17.30            $2,508.50
                                 Associate

    Martin C. Attea              Associate            2 Years              Corporate               $265.00             12.10            $3,206.50

    L. Mark Wine                   Partner           31 Years           Environmental              $505.00              0.60              $303.00

    Timothy Hardy                  Partner           29 Years           Environmental              $445.00           127.30           $56,648.50

    Mark Grummer                   Partner           25 Years           Environmental              $365.00           248.40           $90,666.00



 2
   Any capitalized terms not defined herein have the meaning ascribed to them in the First Quarterly Interim Verified Application of Kirkland & Ellis for
Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et al., for April 2, 2001 through June 30, 2001.


                                                                           2
             Case 01-01139-AMC       Doc 775-2      Filed 08/02/01     Page 3 of 10




     Name of        Position    Number                       Hourly      Total      Total
   Professional     with the    of years    Department       billing     billed    compen-
     Person         applicant    as an                        rate       hours      sation
                                attorney                                           April 2 -
                                                                                   June 30

David Codevilla    Associate    5 Years    Environmental     $295.00      159.50      $47,052.50

Jane Davis          Summer      2 Month    Environmental     $125.00       25.40       $3,175.00
                   Associate

John Irving, Jr.    Partner     36 Years         Labor       $440.00        1.20        $528.00

R. Timothy          Partner     11 Years         Labor       $350.00        1.70        $595.00
Stephenson

David M. Bernick    Partner     23 Years     Litigation      $655.00      151.90      $99,494.50

Andrew Running      Partner     19 Years     Litigation      $470.00      282.00   $132,540.00

John Donley         Partner     16 Years     Litigation      $445.00        1.00        $445.00

Reed Oslan          Partner     14 Years     Litigation      $445.00       67.30      $29,948.50

Peter Bellacosa     Partner     13 Years     Litigation      $460.00        0.50        $230.00

Michelle Browdy     Partner     11 Years     Litigation      $400.00        7.20       $2,880.00

Sarah Marmor        Partner     8 Years      Litigation      $375.00      125.70      $47,137.50

Daryl Joseffer     Associate    6 Years      Litigation      $350.00       15.90       $5,495.50

Christopher        Associate    6 Years      Litigation      $350.00      241.30      $84,455.00
Sullivan

Brant Bishop       Associate    5 Years      Litigation      $330.00        8.80       $2,904.00

Scott McMillin     Associate    5 Years      Litigation      $330.00      200.40      $66,132.00

Douglas Smith      Associate    5 Years      Litigation      $315.00       27.50       $8,662.50

J. Chad Mitchell   Associate    3 Years      Litigation      $265.00        4.00       $1,060.00

P. Renee           Associate    3 Years      Litigation      $265.00       41.00      $10,865.00
Wicklund

Grant Cornehls     Associate    2 Years      Litigation      $225.00       32.30       $7,267.50

Kellye Fabian      Associate     1 Year      Litigation      $195.00      148.40      $28,938.00

Yvette Ney          Summer      1 Month      Litigation      $125.00       41.70       $5,212.50
                   Associate

Brian Davis        Associate    3 Years     Real Estate      $265.00       18.50       $4,902.50

Julie Olsen        Associate     1 Year     Real Estate      $265.00        5.30       $1,404.50

Sven Nylen          Summer      1 Month     Real Estate      $140.00       15.30       $2,142.00
                   Associate



                                             3
                Case 01-01139-AMC        Doc 775-2     Filed 08/02/01      Page 4 of 10




       Name of         Position     Number                       Hourly      Total       Total
     Professional      with the     of years    Department       billing     billed     compen-
       Person          applicant     as an                        rate       hours       sation
                                    attorney                                            April 2 -
                                                                                        June 30

   Donald Rocap         Partner     21 Years         Tax         $625.00       10.00       $6,250.00

   Todd Maynes          Partner     14 Years         Tax         $515.00       61.30      $31,569.50

   Kevin Coenen       Associate     4 Years          Tax         $335.00       21.90       $7,336.50

   Natalie Keller     Associate     4 Years          Tax         $365.00       28.70      $10,475.50

   Thomas Day         Associate      1 Year          Tax         $235.00       47.00      $11,045.00

   Michael            Associate      1 Year          Tax         $235.00        4.60       $1,081.00
   Hauswirth

   Andrew Kaufman       Partner     27 Years    Transactional    $570.00        0.60        $342.00

   Kenneth              Partner     18 Years    Transactional    $510.00        9.10       $4,641.00
   Morrison


        The paraprofessionals of K&E who rendered professional services in these cases during the Fee

Period are:

       Name of        Position     Number of                     Hourly      Total       Total
     Professional     with the      years in    Department       billing     billed     compen-
       Person         applicant       that                        rate       hours       sation
                                    position                                            April 2 -
                                                                                        June 30

   Elizabeth Cox       Legal       12 Years      Bankruptcy      $150.00        5.50        $825.00
   Arnold             Assistant

   Cheri Johnson       Legal        8 Years      Bankruptcy      $140.00        1.00        $140.00
                      Assistant

   Nathanael           Legal        8 Years      Bankruptcy      $150.00       64.10       $9,615.00
   Meyers             Assistant

   Brigitte Windley    Legal        4 Years      Bankruptcy      $150.00      229.00      $34,350.00
                      Assistant

   David               Project      1 Year       Bankruptcy       $70.00        5.50        $385.00
   Delsignore         Assistant

   Daniel Lee          Project     9 Months      Bankruptcy       $70.00        4.50        $315.00
                      Assistant

   Leslie              Project     9 Months      Bankruptcy       $70.00       17.20       $1,204.00
   Drinkwater         Assistant




                                                 4
              Case 01-01139-AMC       Doc 775-2    Filed 08/02/01     Page 5 of 10




    Name of         Position    Number of                   Hourly      Total      Total
  Professional      with the     years in    Department     billing     billed    compen-
    Person          applicant      that                      rate       hours      sation
                                 position                                         April 2 -
                                                                                  June 30

Daniel Baglio         Case      8 Months     Bankruptcy      $60.00      102.50       $6,150.00
                    Assistant

Anita Nowak           Case      5 Months     Bankruptcy      $65.00        3.00        $195.00
                    Assistant

Eric Miller          Project    5 Months     Bankruptcy      $70.00        0.20         $14.00
                    Assistant

Sabrina Mitchell     Project    4 Months     Bankruptcy      $70.00      305.60      $21,392.00
                    Assistant

Aletheia             Project    1 Month      Bankruptcy      $70.00        0.20         $14.00
Anderson            Assistant

Jua Howard           Project    1 Month      Bankruptcy      $70.00        0.50         $35.00
                    Assistant

Bertha Serrano       Legal      1 Month      Bankruptcy     $105.00        1.60        $168.00
                    Assistant

Laura Urso           Legal       16 Years     Corporate     $190.00       21.40       $4,066.00
                    Assistant

Christopher          Legal       8 Years      Corporate     $130.00       62.00       $8,060.00
Valeri              Assistant

Rebecca Landau       Project    11 Months     Corporate      $80.00       16.00       $1,280.00
                    Assistant

Tanya Fawcett         Case      9 Months      Corporate      $65.00        2.50        $162.50
                    Assistant

Melissa Piliere       Case      6 Months      Corporate      $65.00       15.50       $1,007.50
                    Assistant

Lauren Mitchell-     Legal       12 Years   Environmental   $165.00        1.30        $214.50
Dawson              Assistant

Gayle                 Case       12 Years    Intellectual    $65.00        5.20        $338.00
Lodygowski          Assistant                 Property

Alison Kucera        Project    1 Month      Intellectual    $70.00        1.30         $91.00
                    Assistant                 Property

Shirley Pope         Legal      16 Years      Litigation    $155.00       98.00      $15,190.00
                    Assistant

Kenneth Toth          Case       8 Years      Litigation     $65.00        2.00        $130.00
                    Assistant




                                              5
           Case 01-01139-AMC        Doc 775-2    Filed 08/02/01          Page 6 of 10




    Name of       Position    Number of                       Hourly       Total         Total
  Professional    with the     years in   Department          billing      billed       compen-
    Person        applicant      that                          rate        hours         sation
                               position                                                 April 2 -
                                                                                        June 30

Travis             Legal       7 Years     Litigation         $130.00         4.00            $520.00
Langenkamp        Assistant

Kathy Sorce        Legal       6 Years     Litigation         $150.00        13.50           $2,025.00
                  Assistant

Michael Rocco     Manager      3 Years     Litigation         $165.00         0.50             $82.50

Aaron Birnbaum     Project      1 Year     Litigation         $70.00         50.50           $3,535.00
                  Assistant

Emily Knox         Project    11 Months    Litigation         $70.00          1.30             $91.00
                  Assistant

Raquel Carrillo    Legal      7 Months     Litigation         $100.00       111.90          $11,190.00
                  Assistant

Susan Polk         Legal       16 Years         Tax           $180.00         7.00           $1,260.00
                  Assistant

Biographical                                                  $110.00         2.80            $308.00
Research

Government                                                    $110.00         1.00            $110.00
Agency
Research

Legislative                                                   $110.00         2.50            $275.00
Research


                                                 Grand Total for Fees:      $1,753,799.50
                                                 Blended Rate:              $315.74




                                           6
         Case 01-01139-AMC             Doc 775-2       Filed 08/02/01      Page 7 of 10



                                       Compensation by Matter


Matter                              Matter                      Total Hours       Total Fees Requested
Number

  16        Asset Analysis and Recovery                                  129.90              $44,162.00

  17        Automatic Stay Matters/Relief from Stay                      234.30              $79,076.50
            Proceedings

  18        Bankruptcy Filing                                            153.50              $52,508.00

  19        Carriers                                                       1.50                $592.50

  20        Case Administration                                          635.70             $134,462.50

  21        Claim Estimate, Objection and Resolution                     306.10             $112,759.50

  22        Contested Matters/Adversary Proceedings                     1580.80             $598,189.50

  23        Corporate and Securities Matters                              13.70               $5,509.00

  24        Creditors/Noteholders Committee                              154.80              $64,682.00

  25        Creditors/Shareholders Committee                             116.20              $34,623.00

  26        DIP Financing/Cash Collateral                                368.30              $74,150.50

  27        Employee Matters                                             194.90              $56,859.00

  28        Environmental Issues                                         329.40             $117,127.50

  29        File, Docket, Calendar Maintenance                           241.80              $19,678.00

  30        Hearings                                                     124.70              $58,648.50

  31        Intellectual Property                                          0.20                 $79.00

  32        K&E Fee Application, Preparation of                          135.50              $20,570.00

  33        Lease Rejection Claims                                        90.20              $26,179.00

  34        Lien Issues                                                    0.30                $118.50

  35        Other Fee Applications                                         1.10                $434.50

  36        Reclamation Claims                                            15.40               $4,082.50

  37        Reorganization Plan/Disclosure                                11.30               $3,746.50
            Statement/Confirmation Issues

  38        Retention of Professionals/Fees                              168.80              $52,534.00

  39        Schedules/Statement of Financial Affairs                     198.60              $65,479.50

  40        Subsidiaries/Non-Debtor Affiliates                             1.10                $507.50

  41        Tax Matters                                                  142.90              $53,379.50

  42        Travel                                                        72.00              $28,116.50



                                                  7
     Case 01-01139-AMC           Doc 775-2       Filed 08/02/01   Page 8 of 10




43      Use, Sale, Lease or Abandonment of Property                0.70            $437.50

44      U.S. Trustee                                              31.20          $10,984.50

45      Utilities                                                 45.50          $14,701.00

46      IRS Tax Litigation                                        53.80          $19,421.50




                                            8
                 Case 01-01139-AMC           Doc 775-2    Filed 08/02/01   Page 9 of 10



                                               Expense Summary


                               Description                                      Amount



Telephone                                                                                   $4,444.57

Facsimile Charges                                                                           $3,204.71

Standard Copies                                                                             $6,525.44

Color Copies                                                                                  $39.00

Binding                                                                                       $75.25

Outside Copy/binding Service                                                                $3,945.01

Tabs/Indexes/Dividers                                                                         $44.60

Postage                                                                                      $107.79

Local Transportation                                                                         $386.67

Travel Meals                                                                                 $930.05

Overnight Delivery                                                                          $1,654.45

Travel Expense                                                                             $19,621.76

Airfare                                                                                    $42,492.75

Travel to/from Airport                                                                      $1,540.24

Other Travel Expenses                                                                        $690.10

Computer Database Research                                                                  $4,342.25

Library Document Procurement                                                                 $400.00

Information Broker Services                                                                $53,251.04

Calendar/Court Services                                                                      $130.00

Working Meals                                                                                $244.70

Overtime Meals                                                                               $144.00

Overtime Meals- Attorney                                                                     $250.75

Overtime Transportation                                                                      $537.49

Secretarial Overtime                                                                        $7,331.83

Outside Messenger Service                                                                    $354.38

Miscellaneous Office Expenses                                                                $100.00

Trial Exhibits                                                                              $2,605.00

Total                                                                                     $155,393.83



                                                     9
Case 01-01139-AMC   Doc 775-2   Filed 08/02/01   Page 10 of 10




                           10
